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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

ABRAHAM HUGHES,
                                                 Case No. 2:21-cv-11443
                     Plaintiff,
                                                 HONORABLE STEPHEN J. MURPHY, III
v.

CITY OF WAYNE, et al.,

                     Defendants.
                                         /

     ORDER ADOPTING REPORT AND RECOMMENDATION [21]
 AND DENYING DEFENDANTS’ MOTION FOR RULE 11 SANCTIONS [13]

       After the Court granted in part and denied in part the motion to dismiss, ECF

11, Defendants moved for sanctions under Federal Rule of Civil Procedure 11, ECF

13. The Court referred the motion to Magistrate Judge David R. Grand. ECF 14.

Judge Grand held a motion hearing on May 9, 2022, ECF 20, and recommended both

from the bench and in a report and recommendation that the motion be denied. ECF

21. Any objections were required to be filed no later than May 24, 2022. ECF 21, PgID

386.

       De novo review of the magistrate judge’s findings is required only if the parties

“serve and file specific written objections to the proposed findings and

recommendations.” Fed. R. Civ. P. 72(b)(2). Because no party filed objections, de novo

review of the Report’s conclusions is not required. After reviewing the record, the

Court finds that the magistrate judge’s conclusions are factually based and legally




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sound. Accordingly, the Court will adopt the Report’s findings and deny Defendants’

motion for Rule 11 sanctions.

      WHEREFORE, it is hereby ORDERED that the magistrate judge’s Report

and Recommendation [21] is ADOPTED.

      IT IS FURTHER ORDERED that Defendants’ motion for Rule 11 sanctions

[13] is DENIED.

      SO ORDERED.

                                      s/ Stephen J. Murphy, III
                                      STEPHEN J. MURPHY, III
                                      United States District Judge
Dated: May 25, 2022

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on May 25, 2022, by electronic and/or ordinary mail.

                                      s/ David P. Parker
                                      Case Manager




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